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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:05CR145
                              )
          v.                  )
                              )
JUAN RANGEL-SORIA,            )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue sentencing.      The Court finds said motion should be

granted.   Accordingly,

           IT IS ORDERED that sentencing is rescheduled for:

                 Monday, July 17, 2006, at 11 a.m.,

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 26th day of May, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
